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                                                                                       ~ U.S.D.C. -Atlanta

                                            18-8 (Part 18-8)                                    JUN 01~
                         Case No. 1:25-cv-OO613-MLB                                           K~~~ER,Cl ~
                                                                                             By6J;oputy Clerk
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION



                                      ULYSSES T. WARE and
                                     GROUP MANAGEMENT,
                                            (Debtor)
                                           Appellants,

                                                    v.

            ALPHA CAPITAL, AG, et al., Predatory Unregistered Broker-Dealers,
                                     Appellees.



                      On Appeal from the United States Bankruptcy Court
                             for the Northern District of Georgia
                                   Case No. 03-93031-WLH



[Docket Text] APPELLANTS' REQUEST FOR MANDATORY JUDICIAL NOTICE
PURSUANT TO FEDERAL RULE OF EVIDENCE 201(c)(2) AND DEMAND FOR
OPPORTUNITY TO BE HEARD PURSUANT TO FEDERAL RULE OF EVIDENCE
201(e).

R pectfully sub~itt d,
  ~:;;.              1
                 w(vt..L-
  · lfiysses T. Ware
Ulysses T. Ware
Attorney-in-fact for Appellants
Ulysses T. Ware and Group Management
The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226
(718) 844-1260
utware007@gmail.com
                        Filed on Tuesday, May 27, 2025, at 9:49:38 AM


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A.        OPENING STATEMENT
          Appellants Ulysses T. Ware (d/b/a Group Management, a sole proprietorship) and Group

Management ("Appellants"), jointly, through their undersigned 28 USC § 1654 counsel ofrecord,

Ulysses T. Ware, (1) respectfully submit this formal Request for Mandatory Judicial Notice

pursuant to Federal Rule of Evidence ("FRE") 201(c)(2) and, in conjunction therewith, and (2)

demand an actual and effective opportunity to be heard orally pursuant to FRE 201 (e) concerning

the propriety of taking such notice and the tenor of the matters to be noticed. This request pertains

to specific, readily ascertainable adjudicative facts, derived from unimpeachable sources within

the official record of this appeal and related prerequisite proceedings, which are critical to the just

resolution of threshold jurisdictional issues and the vindication of Appellants' procedural and

substantive rights.


I. JURISDICTIONAL AND PROCEDURAL FRAMEWORK
A. Mandatory Nature of Judicial Notice Under FRE 201(c)(2):

          Federal Rule of Evidence 201(c)(2) unequivocally mandates that a court must take judicial

notice of an adjudicative fact if a party requests it and supplies the necessary information ,1

provided such fact is "not subject to reasonable dispute" because it "can be accurately and readily

determined from sources whose accuracy cannot reasonably be questioned." FRE 201 (b)(2). The

Eleventh Circuit rigorously applies this mandate. See Bryant v. Avado Brands, Inc., 187 F.3d 1271,



1
    FRE 20l(c) Taking Notice. The court:
!1) may take judicial notice on its own; or
(2) must take iudicial notice if a party requests it and the court is supplied with the necessary]
jnformation.


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1278 (11th Cir. 1999) (recognizing propriety of taking judicial notice of relevant public documents

required to be filed with the SEC and available from reliable sources). The official docket of this

Court, certified records from related proceedings, and declarations made under penalty of perjury

pursuant to 28 U.S .C. § 1746 constitute sources of unquestionable accuracy for the purposes of

FRE 20l(b)(2).


B. Primacy of Ascertaining Article III Jurisdiction:

        It is a bedrock principle of federal jurisprudence that Article III subject matter jurisdiction

is an antecedent consideration that "first" must be definitively established before a court may

proceed to any determination on the merits. Steel Co. v. Citizens for a Better Env 't, 523 U.S. 83,

94-95 (1998) ("For a court to pronounce upon [the merits] when it has no jurisdiction to do so is,

by very definition, for a court to act ultra vires."). Any action taken by a court [Dkt. 38, herein] in

the absence of such jurisdiction is void ab initio.


C. Constraints on Ad Hoc Procedural Directives and Sanctions:

        Federal Rule of Civil Procedure 83(b), applicable to appellate proceedings where

appropriate, prohibits the imposition of sanctions for noncompliance with judge-specific

requirements or practices not established by national or local rules, unless the litigant has received

prior actual notice of the particular requirement. The Advisory Committee Notes to Rule 83

emphasize that "no sanction or other disadvantage may be imposed for noncompliance with any

requirement not in federal law, federal rules, or local district rules unless the alleged violator

has been furnished in the particular case with actual notice of the requirement."




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D. Constitutional and Statutory Imperative of an Impartial Tribunal:

        The Due Process Clause of the Fifth Amendment and 28 U.S.C. § 455 demand that all

judicial proceedings be conducted before an impartial adjudicator. A judgment rendered by a

tribunal harboring "deep-seated favoritism or antagonism that would make fair judgment

impossible" is fundamentally flawed and subject to vacatur. Liteky v. United States, 510 U.S. 540,

555 (1994); see also Caperton v. A.T. Massey Coal Co., 556 U.S. 868, 883-84 (2009) (discussing

circumstances requiring recusal due to probability of bias).



II. UNIMPEACHABLE SOURCES OF ADJUDICATIVE FACTS
        The adjudicative facts for which Appellants seek mandatory judicial notice are derived

from the following sources, the accuracy of which cannot reasonably be questioned:


    1. The Declaration of Ulysses T. Ware, dated April 30, 2025 ("Ware Declaration"), Ex. 1,

        infra, executed under penalty of perjury pursuant to 28 U.S.C. § 1746, and filed in this

        matter, attesting to specific procedural occurrences and the content of identified

        documents.

    2. The Official Electronic Docket and Filings in Case No. 1:25-cv-00613-MLB (N.D.

        Ga.), as maintained and authenticated by the Clerk of this Court, including, but not limited

        to, Dkt. 10 (Clerk' s Notice of Briefing Schedule), Dkt. 26 (Appellants' Opening Brief),

        and Dkt. 38 (Order dated April 29, 2025), Ex. A-1 , A-2, infra.

    3. The Certified Joint Stipulated Appellate Record ("JSAR"), pages of which are cited

        herein, constitutes the official record transmitted from the Bankruptcy Court and

        foundational to this appeal.


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      4. Specific Federal Rules of Bankruptcy Procedure and their Official Advisory

         Committee Notes.


III. ADJUDICATIVE FACTS WARRANTING MANDATORY
JUDICIAL NOTICE
        Appellants respectfully request that the Court take mandatory judicial notice of the

following twenty-five (25). adjudicative facts, each derived from the aforementioned

unimpeachable sources:



~!Specific Adjudicative Fact                 IP:ecis_e Record       Direct Relevance to Dispositive
                                              Pmpomt                Issues on Appeal
   On March 17, 2025, the Clerk of
   this Court issued a Notice Setting         Ware DecL ,rl;
                                                                Establishes the initial, controlling
   Briefing Schedule (Dkt. 10),               Dkt. 10 (N.D. Ga.
 1                                                              briefing deadline governed by
   establishing April 17, 2025, as the        Case No. 1:25-cv-
                                                                Fed. R. Bankr. P. 8018(a)(l).
   due date for Appellants' Opening           00613-MLB)
   Brief.
:==
  On April 7, 2025, Appellants timely
                                        Ware Deel. ,r2;
  filed their "Election To Be Governed                      Demonstrates Appellants' express
                                        Appellants'
  by Word Count Limit" for their                            and lawful election of a specific
2                                       Election (N.D. Ga.
  opening brief, opting for the 13,000-                     type-volume limitation authorized
                                        Dkt. Entry for Apr.
  word limit as permitted by Fed. R.                        by national procedural rules.
                                        7, 2025)
  Bankr. P. 8015(a)(7)(B)(i).
  Appellants' Opening Bri~f (Dkt. 26), Ware Deel. ,r3 ;             Conclusively proves Appellants '
  timely filed on April 10, 2025 ,       Dkt. 26, p. 51             strict compliance with their
3 contains a Certificate of Compliance (N.D. Ga. Case               elected word-count limit under
  at page 51 , certifying that the brief No. 1:25-cv-               Fed. R. Bankr. P.
  contains 9,068 words.                  00613-MLB)                 8015(a)(7)(B)(i) and 8015(h).
=
                                                                    Triggers the procedural mandate
  Upon its filing on April 10, 2025,
                                                                    of Fed. R. Bankr. P. 8015(f),
  Appellants' Opening Brief (Dkt. 26)
                                                                    which states a brief complying
  was reviewed and accepted for filing
4                                      Ware Deel. ,r,r4-5           with form requirements "must be
  by the Clerk of this Court, with no
                                                                    accepted by the clerk." Clerk's
  notice of deficiency issued by the
                                                                    acceptance confirms facial
  Clerk.
                                                                    compliance.



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   No notice of deficiency regarding the
                                                                    Establishes waiver of any
   form, length, or content of
                                                                    potential formatting or technical
   Appellants' Opening Brief (Dkt. 26)
                                                                    objections to Dkt. 26 not timely
 5 has ever been issued by tq.e Clerk of Ware Deel. ,I6
                                                                    raised, and reinforces the finality
   this Court or any judicial officer
                                                                    of the Clerk's acceptance under
   prior to the Order of April 29, 2025
                                                                    Rule 8015(f).
   (Dkt. 38).
   On April 29, 2025, nineteen (19)
   days after the Clerk's acceptance of                             Evidence of a retroactive
                                              Ware Deel. ,I6;       alteration of established briefing
   Dkt. 26, this Court issued an Order
                                              Dkt. 38 (N.D. Ga.     parameters after a compliant brief
 6 (Dkt. 38) sua sponte directing
                                              Case No. 1:25-cv-     had been accepted, implicating
   Appellants to file a new opening
                                              00613-MLB)            procedural fairness and reliance
   brieflimited to twenty-five (25)
                                                                    interests.
   pages.
    The Court's Order of AQril 29, 2025
    (Dkt. 38), imposing the 25-page
    limit was issued without any prior
                                                              Demonstrates procedural
    motion from any party, without
    affording Appellants an                                   irregularities directly
    opportunity to be heard, and                              contravening    Fed. R. Civ. P.
                                          Ware Deel. ,I,I7-9; 83(b )'s actual notice requirement
7 without citation to any Federal
                                          Dkt. 38             for judge-specific directives and
    Rule of Bankruptcy Procedure
                                                              fundamental due process
   Federal R.ule of Appellate
    Procedure, or Local Rule                                  principles requiring notice and an
                                                              opportunity to be heard.
  :;authorizing such a reduced page
   limit or the striking of a comRliant,
  "accepted brief.
=                    .
    Prior to issuing the substantive
   directive contained in Dkt. 38                             Evidence a procedural
   (ordering a new brief and altering                         sequence inconsistent with the
   briefing parameters), the Court had                        mandate of Steel Co. to "first'1
                                          Ware Deel. ,I,I9-
   not made any explicit finding or                           affirmatively establish
8                                         11 ; Court Docket
   determination on the record                                jurisdiction [Article Ill
                                          Review
   regarding the existence of Article Ill                     standing of the Appellees
   subject matter jurisdiction over                           unregistered broker-dealers] as
   Appellees' claims, despite pending                         ! threshold matter.
  motions raising this threshold issue.
    ;fhe Honorable Leonard B: Sand,                                Establishes a fact critical to res
    U.S.t).J. (S.D.N.Y., deceased),           JSAR, pp. 46-47      judicata, collateral estoppel, and
  entered a Rule 4l(a)(2) voluntary           (S.D.N.Y. Final      Appellees' lack of Article III
9
  Final Judgment on December 20,              Judgment in          standing (no cognizable legal
  2007, dismissing with prejudice all         02cv2219)            interest due to preclusion and
  claims asserted by Appellees'1                                   extinguishment of claims).

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    predecessors-in-interest in Alpha
    Capital AG, et al. v. IVG Corp., et
    al., No. 02cv2219 (LBS) (S.D.N.Y.)J
    which claims were predicated
    upon the same debt instruments af
    issue in this appead
    The predatory, criminal usury debt                             Provides the factual basis for
    instruments underlying Appellees'                              Appellants' argument that the
    claims (GX 1-4 and GX 5) are, on                               underlying predatory, criminal
                                            JSAR, pp. 49-60
    their face, null and void ab initio and                        usury debts (GX 1-4) are void
 10                                         (Exhibits GX 1-4,
    criminally usurious under New York                             ab initio, unenforceable as a
                                            GX5)
    Penal Law § 190.40, a class E                                  matter of public policy, and
    felony, imposing interest and charges                          incapable of su1morting Article
    exceeding 2,000% per annum.                                    III standing.
                                                                    Supports Appellants' defense
    A sworn certification issued by the                             under 15 U.S .C. § 78cc(b) that
    Financial Industry Regulatory                                   contracts (GX 1-4, and GX 5)
    Authority (FINRA) dated May 17,                                 entered into by unregistered
                                          JSAR, p. 48
 11 2021, addressed to Appellants'                                  broker-dealers in violation of 15
                                          (FINRA Letter)
    counsel, certified that certain                                ,12:.s.c. § 78o(a}are ipso facto
    Appellee entities were not registered                           statutorily void ab initio, further
    as broker-dealers.                                              negating Appellees' standing and
                                                                    the enforceability of their claims.
    The text of Fed. R. Bankr. P. 8015(f)                          ,...
                                                                    Confirms the mandatory, non-
    states: "A brief submitted to the clerk                         discretional"}'. duty of the Clerk
    for filing that complies with Rule      Fed. R. Bankr. P.       to accept a formally compliant
 12 8015(a)(l)-(6), (b), and (c) and with 8015(f) (verbatim         brief, rendering the April 10,
    any paper-size and pagination           text)                   2025, acceptance ofDkt. 26 a
    requirements of a local rule must be                            procedurally significant and
    accepted by the clerk."                                         binding act.
    No Appellee or any other party filed
    any motion to strike Appellants'                               Establishes waiver by Appellees
                                            Court Docket
    Opening Brief (Dkt. 26) between its Review (N.D. Ga.           of any objection to Dkt. 26 they
 13                                                                might have raised, and highlights
    acceptance on April I 0, 2025, and      Case No. 1:25-cv-
    the issuance of the Court•~ sua sponte 00613-MLB)              the sua sponte nature of the
    Order (Dkt. 38) on April 29, 2025.                             Court's action.
-
    Three (3) prior motions filed by
                                            Court Docket           Illustrates that outstanding
    Appellants seeking judicial notice
                                            (N .D. Ga. Case        requests for judicial notice of
    pursuant to FRE 201 (Dkt. 12, 0kt.
14                                          No. 1:25-cv-           facts pertinent to jurisdiction and
    19, Dkt. 22) remained pending and
                                            00613-MLB);            the merits were awaiting
    undecided at the time 0kt. 38 was
                                            Ware Decl. ,Jl5        adjudication, underscoring the
    issued.


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D   The Court's Order of April 29, 2025
                                              I
                                                                   Inecessity for the current request
                                                                   : regarding facts related to Dkt. 38.
                                                                   Evidences the coercive and
    (Dkt. 38), threatens Appellants with                           punitive case-dispositive nature
    punitive "dismissal of the appeal,                             of the Order, issued without prior
 15                                           Dkt. 38, p. 2
    potentially with prejudice," for                               notice or adherence to established
    failure to comply with its 25-page                             rules, raising due process
    directive.                                                     concerns.
    The Court's Order of April 29, 2025                            Provides a specific and objective
    (Dkt. 38), characterizes Appellants'                           textual example of language
    prior filings using the highly                                 Appellants contend demonstrates
 16 inappropriate and pejorative phrase:      Dkt. 38, p. 2        extrajudicial bias and "deep-
    "rambling, incoherent,                                         seated antagonism" under Liteky,
    voluminous, and unnecessary                                    relevant to the impartiality of the
    filings."                                                      tribunal.
    The Court's Order of April 29, 2025
    (Dkt. 38), provides no citation to
    any Federal Rule of Bankruptcy
                                                                   Highlights the absence of
    Procedure, Federal Rule of
    Appellate Procedure, Local Rule,                               rationally articulated legal
                                                                   authority for the Court's
    or case law as authority for
 17                                      Dkt. 38 (passim)          directive, supporting Appellants'
    imposing a 25-page limit on an
    appellate brief where the national                             contention that the order is ad
                                                                   hoc, advisory, void ab initio, ultra
    rules provide for an equivalent
    "13,000" word count, or for striking                           vires, and arbitrary.
    a previously accepted, compliant
    brief.
;::::=
    The text of Fed. R. Civ. P.. 83 b),
    stating that a sanction may not be
    imposed for noncompliance with a                               Provides direct textual support for
                                         Appendix F (Text          Appellants' argument that the
    ,~quirement not in federal law,
 18                                      of Fed. R. Civ. P.        threatened punitive sanction in
    rules, or local rules unless the
                                         83(b))                    Dkt. 38, based on a novel page
    violator received actual notice, is
    accurately reproduced in Appellants'                           limit, violates this rule.
    Appendix F to this submission.
:=::-
    The Ware Declaration, Ex. 1, infra,                            Confirms the basis of the
    attesting to the procedural facts                              declarant's personal knowledge
                                               Ware Declaration,
 19 herein, was executed under penalty                             and the solemnity of the
                                               Signature Block
    of perjury on April 30, 2025, in                               attestations under 28 U.S.C. §
    Brooklyn, New York.                                            1746.

B        A "Joint Declaration and Stipulation" Dkt. 19-4, pp. 1-5, Establishes the existence and
         (Dkt. 19-4 in Case No. 1:25-cv-       13 (N.D. Ga. Case content of a filed document that


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       00613-MLB) was filed on March 31, No. 1:25-cv-              created binding stipulations as to
       2025, asserting, inter afia·, that     00613-MLB)           liability and damages, highly
       Appellees' failure to file a sworn                          material to the overall merits and
       written opposition by March 28,                             ~urisdictional posture of
       2025, resulted in deemed judicial                           Appellees.
       admissions to facts establishing joint
       and several liability in the sum
       certain amount of $5.2225 billion.
::==
    The Appellants' Clerk's internal
    filing memorandum dated May 20,                            Provides further corroboration of
                                           Ware Deel.
    2025, concerning the processing of                         the procedural rule governing the
                                           (referencing Filing
 21 appellate briefs, reiterates the                           Clerk's acceptance of briefs,
                                           Memo of May 20,
    mandate of Fed. R. Bankr. P. 8015(f)                       underscoring the propriety of the
                                           2025,p. 1)
    that a compliant brief "must be                            initial acceptance of Dkt. 26.
    accepted."
:==
    The Official Advisory Committee
                                                               Demonstrates that the imposition
    Notes to Fed. R. Bankr. P. 8015        Advisory
                                                               of a 25-page cap, if construed as a
    states that while local rules may      Committee Notes
                                                               local practice, directly
    provide for variations, ":A local rule to Fed. R. Bankr.
 22                                                            contravenes the spirit and intent
    may not, however, impose a page P. 8015 (2014
                                                               of the national rule it purports to
    limit that is more restri~tive than Amendments), pp.
                                                               implement, which favors less
    the word limit," and that word         56-57
                                                               restrictive word counts.
    limits are favored for flexibili!Y."
::==
   Appellants filed a Motion to Alter or A           t ,R
                                            ppe 11 ans    u1e
   A~end Judgment pursuant to Fed. R.                              Evidences Appellants' diligence
                                          59 (e) Motion
23 C1v. P. 59(e) on May 27, 2025,         (ND G Dkt                in challenging the contested
   seeking reconsideration of Dkt. 38     E · · :fi a.M ·          Order (Dkt. 38) and preserving
                                                           27
   an? th~reby p~eserv~n~ their            ; ; ; or ay '           their rights.
                                          2
_ obJect10ns to its validity.
   The Court's Order of April 29, 2025
                                                                   Illustrates a summary disposition
   (Dkt. 38), denied four pending
                                                                   of multiple, distinct motions
   motions filed by Appellants (Dkts.
                                                                   (including requests for judicial
   12, 14, 19, 22) in a single concluding
24 sentence, stating they "fail to show Dkt. 38, p. 1              notice pertinent to jurisdiction),
   that the relief requested is                                    which Appellants argue is
                                                                   indicative of a lack of
   warranted," without providing
                                                                   individualized consideration and
   individualized analysis or reasoning
                                                                   potential prejudice.
   for each denial.
~ A review of the official docket in     Court Docket              Raises fundamental questions
       Case No. 1:25-cv-00613-~LB as of Review (N.D. Ga.           regarding Appellees'
       May 27, 2025, reveals no formal   Case No. 1:25-cv-         participation in this appeal and
       notice of appearance filed by any 00613-MLB)                the Court's ability to exercise


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        legal counsel specifically on behalf                          jurisdiction over parties not
        of any named Appellee entity in this                          properly before it, directly
        appellate proceeding.                                         relevant to Article III standing
                                                                      and case-or-controversy
                                                                      requirements.

IV. ADJUDICATIVE FACTS EVIDENCING EXTRAJUDICIAL
BIAS IN THE COURT'S ORDER OF APRIL 29, 2025 (DKT. 38)
           Appellants further request mandatory judicial notice of the following specific textual

excerpts from Dkt. 38, which are adjudicative facts establishing the content of the Court's Order.

Appellants contend these facts, individually and collectively, evidence a "deep-seated favoritism

or antagonism that would make fair judgment impossible," Liteky, 510 U.S. at 555, warranting

recusal.


~Verbatim Text from Dkt. 38, p. 2 (unless                  Indicator of Potential Extrajudicial Bias (as
  otherwise noted)                                         contended by Appellants)
                                                           Employs pejorative and ad hominem
                                                           language not directed at the legal
      Appellants' filings are characterized as             substance of filings, suggesting personal
    1 "rambling, incoherent, voluminous, and               animus rather than objective judicial
      unnecessary filings ."                               assessment without citation to anYi
                                                           specific pleading or its content, the
                                                           ~ourt deeme~ offensive.~
=                                                          Singles out "Appellant" (singular) for
                                                           chastisement, despite multi.ele Appellants,
        "Appellant must be more judicious and
    2                                                      and applies a subjective behavioral
        restrained about what he- chooses to file."
                                                           standard without parallel admonishment
                                                           to Appellees.




~
        The Order threatens punitive "dismissal of the
                                                           Imposes a severe, punitive case-
        appeal, potentially with prejudice," for non-
                                                           terminating sanction for violation of a
        compliance with the sua sponte 25-page
                                                           novel, unannounced procedural
        directive.

2
 To date, the Court has yet to identify in any written notice or order one single pleading, or portion of any
pleading, that is "rambling, incoherent, voluminous, or unnecessary," or the legal standard used to make
such determination.

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D     Dkt. 38, p. 1: Four distinct motions (Dkts. 12,
                                                         requirement, appearing disproportionate
                                                         and coercive.

      14, 19, 22) are summarily denied in a single       Constitutes a summary, undifferentiated
      sentence because they "fail to show that the       disposition of multiple motions (including
 4
      relief requested is warranted," without any        those pertinent to jurisdiction), suggesting
      individualized legal analysis or articulated       a lack of particularized judicial review.
      reasoning for any specific motion.
 ;::=
                                                 Arbitrary restriction lacking any basis in
   Imposition of a "25-pages" limitation on the
                                                 applicable national rules and contrary to
   opening brief, contrary to the elected and
 5                                               the Advisory Committee's guidance
   complied-with word count under Fed. R. Bankr.
                                                 favoring expansive word counts over more
   P. 8015.
                                                 restrictive page limits.

~ Directions
                                                      Retroactively nullifies a previously filed
             to file "a single, consolidated          and Clerk-accepted brief (Dkt. 26) that
  opening brief not to exceed 25 pages."              complied with national rules, imposing a
                                                      new, more restrictive standard post hoc.
   The Order (Dkt. 38) is silent on, and takes no    Evidences a disregard for the Court's
   action to resolve, the threshold issue of         primary duty under Steel Co. to ascertain
7 Appellees' Article III standing, despite multiple jurisdiction before addressing merits-
   pending motions (e.g., Dkts. 12, 19, 22) directly related or procedural case management
   raising jurisdictional defects.                   issues.




~
   The Order (Dkt. 38) provides no citation to       Action appears untethered to any cited
   any rule or legal authority justifying the        governing legal standard, indicative of a
   imposition of the 25-page cap or the striking of capricious exercise of judicial power
   the accepted brief.                               rathe.r tha~ reasoned application ofJaw!
   The entirety of the Order's pejorative, critical,
                                                     Demonstrates an asymmetric application of
   and directive language is aimed exclusively at
                                                     judicial oversight and admonishment,
9 "Appellant" or "Appellants"; Appellees are not
                                                     indicative of biased and prejudicial
   subjected to any simi lar scrutiny or directive
                                                     treatment.
   concerning their filings or conduct.
   The tone and specific pejorative language (e.g.,
   "rambling, incoherent") employed in Dkt. 38       Raises the appearance that extrajudicial
   mirror characterizations and stereotypes which biases or considerations, rather than a
10 Appellants have previously alleged, in other      neutral assessment of the record, have
   filings (e.g. , JSAR pp. 56-58 referencing        influenced the Court's language and
   external contexts), are indicative of racial or   directives.
   other impermissible bias.

        The cumulative effect of these obiective textual elements within Dkt. 38, Appellants

submit, satisfies the Liteky standard for demonstrating an appearance of deep-seated antagonism,

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necessitating mandatory recusal under 28 U.S.C. § 455(a) (appearance of bias and prejudice), and

(b)(1-4) for actual bias and actual prejudice-that is, a manifest, fundamental miscarriage of

justice.


V. LEGAL ANALYSIS AND IMPLICATIONS OF JUDICIALLY
NOTICED FACTS
A. Appellants' Opening Brief (Dkt. 26) Is Conclusively Deemed Properly Filed and
Operative:

           Judicial notice of Facts #1-5, #12-13, #21, and #22 establishes that Appellants' Opening

Brief (Dkt. 26) was timely filed, complied with the elected word-count limit (13,000) under Fed.

R. Banlcr. P. 8015(a)(7)(B)(i), and, pursuant to the unequivocal mandate of Fed. R. Banlcr. P.

8015(±), "must be accepted by the clerk." The Clerk's acceptance and docketing on April 10,

2025, confirms this. The subsequent Order (Dkt. 38) imposing an arbitrary and capricious "25-

pages" limit is contrary to a national rule possessing the force of statute (28 U.S.C. § 2075) and

the guidance of the Advisory Committee Notes, rendering the directive to file a 25-page brief ultra

vires and void. Dkt. 26 remains the operative opening brief.


B. The Court's Order (0kt. 38) Was Issued Without Prior Ascertainment of Article
III Jurisdiction, Implicating a Jurisdictional Void:

        Judicial notice of Facts #8, #9- l l , # l 4, #20, and #25 demonstrates that substantive, merits-

implicating directives contained in Dkt. 38 were issued while fundamental challenges to

Appellees' Article III constitutional standing and the Courts' Article III subject matter jurisdiction

(predicated on void ab initio claims and preclusion) remained unresolved. This procedural posture

directly contravenes the Supreme Court's mandate in Steel Co. Any orders issued under such



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circumstances, particularly those impacting substantive rights or imposing sanctions, are

themselves (i) null and void ab initio, (ii) "advisory" and (iii) subject to jurisdictional challenge

and vacatur.


C. The Order (Dkt. 38) Violates Due Process and Fed. R. Civ. P. 83(b):

        Judicial notice of Facts #5-7, # 15, # 17, and # 18 confirms that the imposition of a novel ,

restrictive, and punitive "25-pages" limitation and the threat of punitive dismissal with prejudice

for non-compliance occurred without prior actual notice to Appellants of such an ad hoc iudge-

specific requirement, in direct violation o(Fed. R. Civ. P. 83(b). This, coupled with the lack of

an actual opportunity to be heard, constitutes a denial of procedural due process under the Fifth

Amendment.


D. The Content and Tenor of Dkt. 38 Mandate Recusal Under 28 U.S.C. § 455:

        Judicial notice of the specific textual elements of Dkt. 38, as detailed in Section IV supra

(Facts #16, #17, and the ten enumerated bias and prejudice factors and indicators), provides the

factual predicate for Appellants' assertion that the Order manifests "deep-seated favoritism or

antagonism that would make .fair judgment impossible." Liteky, 510 U.S. at 555 . The appearance

of partiality, evidenced by the harsh and pejorative language and asymmetric application of

directives, compels mandatory recusal under 28 U.S .C. § 455(a) and (b)(l) to preserve the integrity

of the judicial process. Caperton , 556 U.S. at 883-84.



VI. RELIEF REQUESTED
        WHEREFORE, Appellants Ulysses T. Ware and Group Management respectfully pray that

this Honorable Court:

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     1. TAKE MANDATORY JUDICIAL NOTICE, pursuant to Federal Rule of Evidence

         20 I (c)(2), of each of the thirty-five (35) adjudicative facts identified in Sections III and IV

         supra, and deem said facts conclusively established pursuant to FRE 201 (f) ;

     2. GRANT Appellants' Demand to Be Heard by scheduling a hearing pursuant to Federal

         Rule of Evidence 20l(e) within fourteen (14) days, and ordering simultaneous briefing

         from the Appellants and the Appellees to address the propriety of taking judicial notice and

         the tenor and conclusive effect of the matters noticed, particularly as they pertain to

         jurisdiction, procedural validity, and judicial impartiality;

     3. VACATE the Order dated April 29, 2025 (Dkt. 38), in toto, as ultra vires, issued without

         requisite subject matter jurisdiction, and in violation of Appellants ' due process rights and

         Fed. R. Civ. P. 83(b);

     4. CONFIRM AND RECOGNIZE Appellants' Opening Brief (Dkt. 26), filed on April 10,

         2025, and accepted by the Clerk, as the duly filed and operative opening brief in this appeal,

         and STRIKE the Court's directive imposing a "25-pages" limitation;

     5. REASSIGN this appeal, Case No. l:25-cv-00613-MLB, to a different, randomly selected

         Article III District Judge for all further proceedings, pursuant to 28 U.S.C. § 455(a) and

         (b)(l), to ensure impartiality and the appearance thereof; and

     6. GRANT such other and further relief as this Court deems just, equitable, and proper.


 Dated: May 27, 2025
 Respectfully submitted,
 /s/ Ulysses T. Ware

CJ/it:,:; i   Ftt'';:;:;ippe/lants Ulysses T. Ware and Group Management




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                             CERTIFICATE OF SERVICE
        I hereby certify that on this 27th day of May, 2025, I electronically filed the foregoing

APPELLANTS' REQUEST FOR MANDATORY JUDICIAL NOTICE PURSUANT TO

FEDERAL RULE OF EVIDENCE 201(c)(2) AND DEMAND FOR OPPORTUNITY TO BE

HEARD PURSUANT TO FEDERAL RULE OF EVIDENCE 201(e) with the Chambers of

District Judge Brown via email and vis U.S. Mail addressed to the Clerk of Court.


        All Appellees and their legal counsel have been served on May 27, 2025, via their public

email accounts with a true copy of the foregoing Request for FRE 201(c)(2) Judicial Notice, and

Rule 201(e) Demand to be Heard.


:?C=i;,~
Attorney in fact for the Appellants
May 27, 2025
Brooklyn, NY




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                        Exhibits




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Exhibit 1--DECLARATION OF ULYSSES T. WARE
        I, Ulysses T. Ware, Appellant herein, hereby this 30th day of April, 2025, in Brooklyn,

NY, under oath, subject to the penalty of perjury, having personal knowledge of the facts, pursuant

to 28 USC§ 1746, make this Declaration and state the following.


                1.      On March 17, 2025 , Dkt. 10, the District Clerk (NDGA) by order set the

        Rule 8018(a)(l) briefing schedule for 25cv00613, setting the Appellants' opening brief due

        date for April 17, 2025.

                2.      Appellants on April 7, 2025, as lawfully authorized and permitted,

        exercised their legal rights under Rule 8015(a)(7(B)(i), opted-in and used the 13,000-word

        provision, at great costs and expense, to prepare their opening brief, rather than use the 30-

        page limitation given the complexity of the issues presented on appeal.

                3.      On page 51 of their opening brief, Dkt. 26, see Ex. B, infra, Appellants

        provided the District Clerk (NOGA) with the required Rule 8015(h)(l) certification of

        using the 13,000 word provision of Rule 8015(a)(7)(B)((i), and certified that their opening

        brief contained 9,068 words, well within the 13,000 word limitation of Rule

        8015(a)(7(B)(i).

                4.      On April 10, 2025, the District Clerk (NDGA) reviewed Appellants '

        opening brief, found it compliant with all provisions of Rule 8014(a), found the Rule

        8015(h)(l) certification on page 51;

                5.      the District Clerk (NDGA) finding Appellants ' opemng brief in full

        compliance with all applicable Rules certified complete compliance with Rules 8014(a),




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         8015(a)(7)(B)(i), 8015(h)(l) and accepted and docketed Appellants' opening brief, Dkt. 26,

        as required by Rule 8015(f).

                 6.      On April 29, 2025, Dkt. 38, 19 days after the District Clerk (NDGA)

        accepted, certified, and docketed, Dkt. 26, Appellants' opening brief, and certified full

        compliance with all required Rules,

                7.      the District Court, Brown, J., sua sponte, without any prior written or

        docketed explanation? analysis, or citation to any rule or provision which authorized the

        filing of an additional second supplemental appellant opening Rule 8014(a) brief. acted,

        sua sponte, without the entry of a docketed compliant Rule 8018(a) briefing schedule,

                8.      acted sua sponte without any input from the parties, sua sponte, without a

        docketed notice or due process hearing,

                9.      the District Court, Brown, J., acted sua sponte, in complete "wholesale"

        disregard for the law, the rules, and the legal process required by the Supreme Court's

        decision in Steel Co ., 523 U.S. at 93-95; acting sua sponte without "first" confirming on

        the record the District Court's Article III constitutional subject matter jurisdiction over the

        predatory criminal usury unlawful debts, GX 1-4, and GX 5;

                10.     acted sua sponte without "first" confirming on the record whether an

        Article III adverse appellee having lawful Article III standing existed with respect to the

        issues raised on appeal given the late Judge Sand's Dec. 20, 2007, Rule 41(a)(2) final




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         judgment entered in the underlying 02cv2219 (SDNY) voluntarily dismissed with

         preiudice proceedings [JSAR Dkt. 5-13 pp 46-47]; 3

                 11.      acted sua sponte without "first" as directed by the Supreme Court's

         decision in Steel Co., Id., confirmed on the record whether a live Article III case or

         controversy currently exists during the pending 25cv00613 (NDGA) appeal and during the

         03-93031 Chapter 11 proceedings-that is, whether or not a live Article III controversy

         existed between the parties regarding all issues, facts, and claims resolved by the late Judge

         Sand's Rule 4 l(a)(2) final judgment entered in the 02cv2219 (SDNY) related proceedings.

                 12.     Fed. R. Civ. P. 83(b) (see Ex. F, infra). Procedure When There Is No

         Contro11ing Law. A judge may regulate practice in any manner consistent with federal law,

         rules adopted under 28 U.S.C. §§2072 and 2075, and the district's local rules. Wo

        sanction or other disadvantage may be imposed Ion Appellants Ware and Group




3
   The Joint Stipulated Appellate Record (JSAR) which is binding on the District Court in the 25cv00613
 (NDGA) pending appeal, shows that on Dec. 20, 2007, Dkt. 90, the Appellees herein, their, privies, proxies,
 surrogates, agents, alter-egos, and other in active concert therewith, after the NYS statute oflimitation had
 run on all claims in the underlying 02cv2219 (SDNY) lawsuit, pursuant to Fed. R. Civ. P. Rule 41 (a)(2)
 requested that the late District Judge Sand immediately dismissed the 02cv2219 (SDNY) lawsuit with
t,reiudice, which Judge Sand granted the plaintiffs' request and on Dec. 20, 2007, Dkt. 90, Judge Sand
 dismissed. the 02cv22 .19 (SDNY2_ lawsuit with preiudice, and confe"ed final judgment prevailing party,
'Status on Appellant Ulysses T. Ware and Group Management, see A.B. Dick Co. v. Marr, 197 F.2d 498,
 501-02 (2d Cir. 1952), and also see United States v. L-3 Comm 'cs EOTech, Inc., 921 F.3d 11, 18-19 (2d
Cir. 2019) (Kearse, J.) (collecting cases). Accordingly, as a matter of law and fact given Judge Sand's Dec.
20, 2007, voluntary Rule 41 a)(2) final judgment, WI Appellees and their privies on Dec. 20, 2007.
it'Oluntarilv terminated any and all Article Ill standing to appear (i) in the 03-93031 (BC NDGAJ
'Bankruptcy proceedings, and (ii) to appear in the pending 25cv00613 {NDGA) appeal,-that is, Judge
Sand' Dec. 20, 2007, Rule 4l(a)(2) final judgment, binding on the 25cv00613 District Court strictly
prohibited the District Court's entry of Dkt. 38, see Federated Dept. Stores, 452 U.S. at 398, 401-02 (res
judicata of Judge Sand's Dec. 20, 2007, final judgment is "absolutely binding without exception, on all
courts [02cv2219, 03-93031, 25cv00613], the parties, and their privies [all Appellees in 25cv00613] in all
subsequent proceedings between the parties; and all issues, facts , or claims actually or necessarily resolved
by the final judgment are 'forever settled between the parties .... '). (paraphrased) (emphasis added).

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        1J1indictive "15 pages" limitation[ requirement not in federal law, federal rules, or the

        local rules. unless the alleged violator has been furnished in the particular case /03-

         93031 (BC NDGA), and 25cv00613 (NDGA)J with actual notice of the requirement. 4

        (See Ex. E, infra: Comm. Notes of Rules, 2016 Amendment (discussing Subdivision (e)). 5

 The answer is no.

         Signed this 30 th day of April 2025, in Brooklyn, NY, under oath and subject to the penalty

 of perjury, having personal knowledge of the facts, pursuant to 28 USC § 1746.

Isl Ulysses T. Ware

01~ ;:>. w,J,J.-




4
  See Ex. D, the 25cv00613 docket. The 25cv00613 District Court (Brown, J.), according to the official
docket, and the March 17, 2025, Dkt. 10, Brief Schedule Order, 1did not, has not, and as a matter oflaw
cannot provide Appellants "with actual notice of the requirement" to limit their Rule 8014(a) Opening
Brief to "25 pages." Particularly, where any such purported vindictive, unlawful, unconstitutional, and
retaliatory "25 pages" requirement is null and void ab initio as ultra vires. Cf., Ex. E, infra (the District
Court (Brown, J.) is only lawfully authorized to "increase" the 30 pages limitation rather than decrease to
"25 pages" the Rule 8015(a)(7) page limitation).

5
  See Ex. F, infra. The Federal Rules of Procedure [83(b )] strictly prohibits District Judge Michael L. Brown
from any threat or order threating the following "sanction": "If Appellant does not comply with any of these
[null and void ab initio, unconstitutional, vindictive, retaliatory, and unlawful] instructions [in palpable
violation ofthe Federal Rules of Procedure] contained in this [moot, void ab initio, and ultra vires] Order
[Dkt. 38], the Court will likely dismiss his appeal, potentially with preiudice." (emphasis added) (the
"Unlawful Sanctions Threat").

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Exhibit A-I-April 29, 2025, Order, Dkt. 38 (25cv00613) (NOGA)
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


             Ulysses T. Ware,

                                      Appellant,
                                                      Case No. 1:25-cv-613-MLB
             V.


             Alpha Capital, AG, et al.,

                                      Appellees.

             ------------~'
                                               ORDER
                  The Court DENIES Appellant's motions (Dkts. 12; 14; 19; 22)

            because Appellant has not shown the relief he seeks is warranted. The

            Court ORDERS Appellant to file a single, consolidated opening appellate

            brief no later than May 29, 2025.          Appellant's brief must be titled

            "Appellant's Opening Appellate Brief," be double-spaced, not exceed

            25 pages, contain everything required by Bankruptcy Rule 8014(a) in the

            proper format, and otherwise comply with the rules governing opening

            briefs in a bankruptcy appeal.         If Appellant believes the Comt lacks

            jurisdiction to consider his appeal-or that other juri dictional problems

            exist-he may assert those arguments in his opening brief. The docket




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Exhibit A-2-April 29, 2025, Order, Dkt. 38 (25cv00613) (NDGA)



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             in this case is already dogged with rambling, incoherent, voluminom;,

             and unnecessary filings. Going forwa1·d, the Court urges Appellant to be

             more judicious and restrained about what he choose,s to file. If Appellan'f;

             does not comply with any of the instructions contained in this Order, the

             Court will likely dismiss his appeal, potentially with prejudice.

                   SO ORDERE D this 29th day of Ap.ril, 2025.




                                                VNI'i'Jn-JSTATES OISTRlCTJUDGE




                                                    2




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Exhibit B-Appellants' Rule 8015(h)(l) certification taken from page
51 of the April 10, 2025, Dkt. 26, Opening Brief.
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             Rule 8014 X: Certificate of Compliance
                 Pursuant to Rule 8015(h) of the Fedetal 'R ules of ,& nbuptcy Procedwc, the

             ~J$igned beebyocrtifte'S:


                 f . '.'{bis brief complies with the type~volume limitation <>f Rule 801 S(a)(7)(B}

                     ~ it contains 9* 068 wo~ ~uding the parts of the brief exempted

                     by Rule 801S(g). a& detcmiined by the' word ~tmt function of the word-.

                     pro¢C$$ing -$ ( ) , ~ used to p ~ ibis document.
                 2., This briefcomplies with the rypct~requircments ofRule8015(a)(~)-aod the

                     ~ l e requirements of Rule 80l5(a)(6) because it bas been,prq,ated using

                     a, proportionally ,spaced typeface in Times Nff Roman, l,t..polnt font.


             R ULE '80 14 XJ: ADDITIONAL CONSIDERATIONS FOR TWS
             APPEAL
                     Appellants, Ulysses T. Ware and Group Management (the "Debtor,,

             respectfully submit these supplementary pomts to amplify the issut:s on appeal and

             -u, confinn the ,scope of relief sought under Rule ,8()14 -o:h he Fedml ~u:los of
                                                        '
             Bankruptcy Prt:>cedure. TJus section i$ integral, to explailuni h,ow factQ.al xcalities
             and the conttotling legal framework- mandate reversal or, in the alternative,

             comprehensive remand of~ Bankruptcy Court~, rulings.




             {Part 18,0,\)t~: W~re, et at. "~ ~ ap,ttAI, ~ et.#1,. ~Wlb" Rule 80140pet'iltW &iief
             Flied with Wstrkt Judp Mlchat!4 L Brown on April 7, 201S, via tmd tciChllmbrt:s and U.S. ¥mill.




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Exhibit C--Bankr. Rule 8015

Rule 8015. Form and Length of a Brief; Form of an
Appendix or Other Paper
(a) PAPER COPIES OF A BRIEF. If a paper copy of a brief may or must be filed, the following
provisions apply:
      (1) Reproduction.
        (A) Printing . The brief may be reproduced by any process that yields a clear black image
      on light paper. The paper must be opaque and unglazed. Only one side of the paper may be
      used.
         (B) Text. Text must be reproduced with a clarity that equals or exceeds the output of a
      laser printer.
        (C) Other Reproductions . Photographs, illustrations, and tables may be reproduced by any
     method that results in a good copy of the original. A glossy finish is acceptable if the original
     is glossy.
     (2) Cover. The front cover of the brief must contain:
        (A) the number of the case centered at the top;
        (B) the name of the court;
        (C) the title of the case as prescribed by Rule 8003(d)(2) or 8004(c)(2);
        (D) the nature of the proceeding and the name of the court below;
        (E) the title of the brief, identifying the party or parties for whom the brief is filed; and
        (F) the name, office address, telephone number, and email address of counsel representing
     the party for whom the brief is filed .
     (3) Binding. The brief must be bound in any manner that is secure, does not obscure the text,
   and permits the brief to lie reasonably flat when open.
    (4) Paper Size, Line Spacing, and Margins. The brief must be on 8½"-by-11" paper. The text
  must be double-spaced, but quotations more than two lines long may be indented and single-
  spaced. Headings and footnotes may be single-spaced. Margins must be at least one inch on all
  four sides. Page numbers may be placed in the margins, but no text may appear there.
     (5) Typeface. Either a proportionally spaced or monospaced face may be used.

        (A) Proportional Spacing . A proportionally spaced face must include serifs, but sans-serif
     type may be used in headings and captions. A proportionally spaced face must be 14-point or
     larger.
        (B) Monospacing. A monospaced face may not contain more than 1O½ characters per inch.

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                    (6) Type Styles . The bri€f must be set in plain, roman style, although italics or b oldface may
                  be used for emphasis. Case names must be italicized or underlined.

                     (Z} I,:£11gth.
                       ~A) Page Limitation . A principal brief must not exceed 30 pages, or a reply brief 15
                    [Pages,. unJess it COIJ!Plies with (B).
                        {B) Type-Volume Limitation.
      ~ .. (i) Principal B ief. A principal brief is acceptable if it contains a ce tificate under.
      ~ i h:tand:
                              • contains no more than 13 000 words; 0 11
                                                        3
                                                                             = QB than 1~ 00 lines of text.,

                         (ii) Reply Brief. A reply briefis acceptable if it inc1udes a certificate under (h) and;
                       ~ontains no more than half the type volume specified in item (i).
               (b) BRIEF FILED ELECTRONICALLY . A brief filed electronically must comply w ith (a)-except for
               (a)(l), (a)(3), and the paper requirement of (a)(4).
               (c) PAPER COPIES OF AN APPENDIX. A paper copy of an appendix must comply with (a)(l), (2),
               (3), and (4), with the following exceptions:
                     ( 1) an appendix may include a legible photocopy of any document found in the record or of
                  a printed decision; and
                    (2) when necessary for including odd-sized documents such as technical drawings, an
                  appendix may be a size other than 8½" by 11 ", and need not lie reasonably flat when opened.
               (d) APPENDIX FILED ELECTRON ICALLY. An appendix filed electronically must compl y with (a)(2)
               and (4 }-except for the paper requirement of (a)(4 ).
               (e) OTHER DOCUMENTS.
                    (1) Motion . Rule 8013( f) governs the fo1111 of a motion, response, or reply.
                    (2) Paper Copies of Other Documents . A paper copy of any other document-except one
                  submitted under Rule 8014(£)--must comply with (a), with the following exceptions :
                       (A) a cover is not necessary if the caption and signature page together contain the
                    information required by (a)(2); and
                       (B) the length limits of (a)(7) do not apply.

                    (3) Document Filed Electronically. Any other document filed electrnnicall y-except a
                  document submitted under _Rule 80 l 4(f)-must comply with the requirements of (2).
~ (1) L OCAL VARIATION . A district court or BAP must accept documents [0kt. 26, Appellant'
. . . . . , , , . pril 10, 2025, Opening Brief] that comply with the form requirements of this rule and the
                 length limits 13,000 word~ set I] ' this Part vm (Rule 8015..{a)Cl){B){i)_, (!i)J. By local rule ori

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           order in a particular case, a district court or BAP may accept documents that do not meet
           all the form requirements of this rule or the length limits set by this Part VIII.
           (g) ITEMS EXCLUDED FROM LENGTH . In computing any length limit, headings, footnotes, and
           quotations count toward the limit, but the following items do not:
                 • cover page;
                 • disclosure statement under Rule 8012;
                 • table of contents;
                 • table of citations;
                 • statement regarding oral argument;
                 • addendum containing statutes, rules, or regulations;
                 • certificate of counsel;
                 • signatme block;
                 • proof of service; and
~                • any item specifically excluded by these rules or by local mle.
~ (Jt) C ERTIFICATE OF Co.MPLlANCE. [SEE Ex. B, SU PRA]

                 (1) Briefs and Documents That Require a Certificate. A brief submitted under Rule
              8015(a)(7)(B), 8016(d)(2), or 8017(b)(4)- and a document submitted under Rule
              8013(f)(3)(A), 8013(f)(3)(C), or 8022(b)( l )-must include a certificate by the attorney, or an
              unrepresented party, that the document complies with the type-volume limitation. The
              individual preparing the certificate may rely on the word or line count of the word-processing
              system used to prepare the document. ltiie certificate must state the number of ,,,;ords:-or
              the number of lines of monospaced type-in the document.
               (2) Using the Official Form . A certificate of compliance that conforms substantially to Form
             417C satisfies the certificate requirement.
           (Added Apr. 25, 2014, eff. Dec. 1, 2014; amended Apr. 26, 2018, eff. Dec. 1, 2018; Apr. 27, 2020,
           eff. Dec. 1, 2020; Apr. 2, 2024, eff. Dec. 1, 2024.)
           P RIOR R ULE

             A prior Rule 8015, Apr. 25 , 1983, eff. Aug. 1, 1983, as amended Mar. 30, 1987, eff. Aug. 1,
           1987; Mar. 26, 2009, eff. Dec. 1, 2009, related to motion for rehearing, prior to revision of Part
           VIII, Apr. 25, 2014, eff. Dec. 1, 2014.
           COMMITTEE NOTES ON RULES-2014

              This rule is derived primarily from F.R.App.P. 32. Former Rule 8010(c) prescribed page limits
           for principal briefs and reply briefs. Those lim its are now addressed by subdivision (a)(7) of this
           rule. In addition, the rnle incorporates most of the detail ofF.R.App.P. 32 regarding the appearance

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and format of briefs, appendices, and other documents, along with new provisions that apply when
those documents are filed electrnnically.
   Subdivision (a) prescribes the fonn requirements for briefs that are fi led in paper form. It
incorporates F.R.App.P. 32(a), except it does not include color requirements for brief covers, it
req uires the cover of a brief to include cow1sel's e-mail address, and cross-references to the
appropriate bankmptcy mies· are substituted for references to the Federal Rules of Appellate
Procedure.
   Subdivision (a)(7) decreases the length of briefs, as measured by the number of pages, which
was pem1itted by fonner Rule 8010(c). Page limits are reduced from 50 to 30 pages for a principal
brief and from 25 to 15 for a reely brief in order to achieve consistency with F.R.App.P. 32 a 7).
But as permitted by the appellate 'rule, subdivision (a)(7) also permits the limits on the lengtli
of a brief to be measured by a word or line count. as an alternative to a page limit. Basin~
the calculation of brief length on either of the type-volume methods specified in subdivisio1'
(a}(7)(B) will result in briefs that may exceed the designated page limits in (a)(7)(,i) and tha~
may be a1mroximatel as long as allowed b the rior Rage limits.
   Subdivision (b) adapts for briefs that are electronically filed subdivision (a)'s form requirements.
With the use of electronic fi ling, the method of reproduction, method of binding, and use of paper
become irrelevant. But information required on the cover, fonn atting requirements, and limits on
brief length remain the same.
   Subdivisions (c) and (d) prescribe the fonn requirements for appendices. Subdivision (c),
applicable to paper appendices, is derived from F.R.App.P. 32(b), and subdivision (d) adapts those
requirements for electronically filed appendices.
  Subdivision (e), which is based on F.R.App.P. 32(c), addresses the fonn required for
documents-in paper form or electronically fil.ed-
                                                . that these rules do not otherwise cover.
   Subdivision (t), like F. R. App. P. 32(e), provides assurance to lawyers and parties that
compliance with this rute•s form re uirements will allow a brief or other document to be
accepted bv a11v district court,or BAP, A court may, however, by local rule or, under Rule 8028
by order in a particular case, choose to accept briefs and documents that do not comply with all of
this rule's requirements. The decision whether to accept a brief that appears not to be in compliance
with the rules must be made by the court. Under Rule 8011 (a)(3 ), the clerk may not refuse to accept
a document for fi ling solely because it is not presented in proper form as required by these rules
or any local rule or practice.
   Under Rule 8011 (e), the party filing the document or, if represented, its counsel must sign all
briefs and other submissions. If the document is fi led electronically, an electronic signature must
be provided in accordance with Rule 801 l(e).
   Changes Made After Publication and Comment . In subdivision (f), "or order in a particular
case" was deleted as unnecessary. The discussion in the Committee Note about brief lengths was
revised, and the discussion of subdivision (f) was expanded.
C o ~nTTEE NOTES ON R ULES-201 8 AMENDMENT



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               The rule is amended to conform to recent amendments to F.R.App.P. 32, which reduced the
             word limits generally allowed for briefs. When Rule 32(a)(7)(B)'s type-volwne limits for briefs
             were adopted in 1998, the word limits were based on an estimate of 280 words per page. Amended
             F.R.App.P. 32 applies a conversion ratio of 260 words per page and reduces the word limits
             accordingly. Rule 8015(a)(7) adopts the same reduced word limits for briefs prepared by computer.
               In a complex case, a party may need to fi le a brief that exceeds the type-volume limitations
             specified in these rules, such as to include unusually voluminous information explaining relevant
             background or legal provisi ons or to respond to multip le briefs by opposing parties or amici . ffhe
             Committee expects that courts will accommodate those situations bv granting leave to exceed
             the type-volume limitations as appropriate
               ~ ubdivision (f) is amended to make clear a court's ability (by local rule or order in a case),
                                                                              1
             to increase the length limits for briefs and other documents. Subdivision (f) alread)1
. . . established this authority as to the length limits in Rule 8015(a)(7); the amendment makes
      clear that this authority extends to all length limits in Part VIII of the Bankruptq:; Rules.
               A new subdivision (g) is added to set out a global list of items excluded from length
             computations, and the list of exclusions in fonner subdivision (a)(7)(B)(iii) is deleted. The
             certificate-of-compliance prqvision fonnerly in subdivision (a)(7)(C) is relocated to a new
             subdivision (h) and now applies to filings under all type-volume limits (other than Rule 8014(f)'s
             word limit)- including the new word limits in Rules 8013, 8016, 8017, and 8022. Conforming
             amendments are made to Official Form 4 l 7C.
             COMMITTEE N OTES ON R ULES-2020 AMENDMENT

                The amendment to subdivision (g) is made to reflect recent amendments to Rule 8011 (d) tha t
             eliminated the requirement of proof of service when filing and service are completed using a court's
             electronic-filing system. Because each item listed in Rule 80 15(g) will not always be required, the
             initial article is deleted. The word "corporate" is deleted before "disclosure statement" to reflect a
             concurrent change in the title of Rule 8012.
             C OMMITTEE N OTES ON R ULES-2024 A MENDMENT

                The language of Rule 801 5 has been amended as part of the general restyling of the Bankruptcy
             Rules to make them more easi ly understood and to make style and tem1inology consistent
             throughout the rules. These changes are intended to be stylistic only.




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Exhibit D-25cv00613 (NOGA) Docket Report

             AppeUee
             JohnF. Kin_g

             ApPdlff
             Office of the Georgia Insurance
             Commissioner
             ApQCl.lec
             John Does Imurance.Companies,
             ##1-5


              Date Filed            I   Docket Text
              04/10/2025                Memorandum of Law in Support of Request for Judicial Notice and
                              2.8       Right to be Heard by Ulysses T. Ware, (Attachments:
                                        f l Supplement 1.0 to Part l 7-20A) {pdt) (Entered: 04/15/2025)
              04/10/2025                The Parties' Joint Stipulated Flnal Money Judgment by Ulysses T .
                             21         Ware. (pdt) (Entered: 04/14/2025)

              04/10/2025                Appellants' Rule 8014 Opening Brief by Ulysses T . Ware. {pdt)
                             26          (Entered: 04/14/2025)

              04/09/2025                Supplement 1.0 to Part 17-20A by Ulysses T, Ware re 2.!
                              2.5
                                               Appellants' FRE 201 {c) (2)(e) Processing Request. (pdt)
                                         (Entered: 04/1 I/2025)

              04/09/2025                Appellants' FRE 20 l (c) (2) (e) Processing Request by Ulysses T .
                              24        Ware. (pdt) (Entered: 04/l 1/2025)
              04/08/2025                Appellants' Memorandum of Law in Support of Request for Judicial
                              23        Notice and Right to be Heard regarding Admitted Federal Crimes
                                        Evidenced within the Joint Stipulated Appellate Record USAR) by
                                        Ulysses T. Ware, (pdt) (Entered: 04/10/2025)
             04/08/2025                 Emer~ncy MOTION to Stay .Briefing Schedule for Good Cause
                              22        Shown by Ulysses T. Ware. (pdt) (Entered: 04/10/2025)

             04/07/2025
                             21         MEMORANDUM in Support of 12             Appellants' Request for
                                        Rule 3.3 and Rule 8.4 Professional Responsibllity and Duty of
                                        Candor Show Cause Order, Appellate Status Conference and

                                        Briefing Schedule and 14          MOTION for Appellate Status


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                 Exhibit E-Advisory Committee Notes (Fed. R. App. P. Rule 32)
                         Subdivision (d}. Local Variation.

   ~ Abrief that complies with the national rule should be acceptable in every court. Local rules may move in one
   ~ direction only; they may authorize noncompliance with certain of the national norms. For example, a court that
                       wishes to do so may authorize printing of briefs on both sides of the paper, or the use of smaller type size or
                       sans-serif proportional type. Alocal rule may not, however, impose requirements that are not in the national
                     ~                       llllllllliii
                       Committee Notes on Rules-2002 Amendment
                         Subdivision (a)(2). On occasion, a court may permit or order the parties to file supplemental briefs addressing
                       an issue that was not addressed-or adequately addressed-in the principal briefs. Rule 32(a)(2) has been
                       amended to require that tan covers be used on such supplemental briefs. The amendment is intended to
                       promote uniformity in federal appellate practice. At present, the local rules of the circuit courts conflict. See, e.g. ,
                       D.C. Cir. R. 28{g) (requiring yellow covers on supplemental briefs); 11th Cir. R. 32, 1.0.P. 1(requiring white covers
                       on supplemental briefs).
                         Changes Made After Publication and Comments. No changes were made to the text of the proposed amendment
                       or to the Committee Note.
    ~ Subdivision /a!(]XQ. ~ the principal brief of a party exceeds 30 pages, or ff the rep~ brief of a party exceeds 15
    ~                 pages, Rule 32(a)(7XC) provides that the party or the party's attorney must certify that the brief complies with
                      the type-volume limitation of Rule 32(a)(7)(B). Rule 32(a)(7XC) has been amended to refer to Form 6 (which has
                      been added to the Appendix of Forms) and to provide that a party or attorney who uses Form
                      with Rule 32(aX7)(C). No court may provide to the contrary, in its local rules or otherwise.
                    Committee Notes on Rules-2016 Amendment
                       When Rule 32(a)(7)(8)'s type-volume limits for briefs were adopted in 1998, the word limits were based on an
                    estimate of 280 words per page. In the course of adopting word limits for the length limits in Rules 5, 21, 27. 35,
                    and 40, and responding to concern about the length of briefs, the Committee has reevaluated the conversion
                    ratio (from pages to words) and decided to apply a conversion ratio of 260 words per page. Rules 28. 1 and 32(a)
                    (7)(8) are amended to reduce the word limits accordingly.

                      In a complex case, a party may need to file a brief that exceeds the type-volume limitations specified in these
                    rules, such as to include unusually voluminous information explaining relevant background or legal provisions
                    or to respond to multiple briefs by opposing parties or amici. The Committee expects that courts will
                    accommodate those situations by granting leave to exceed the type-volume limitations as appropriate.

                      Subdivision (e) is amended to make dear a court's ability {by local rule or order in a case) to increase the
                    leo&b liwirn for hrje(5 and other documents. Subdivision (e) already established this authority as to the length
. . . limits in Rule 32(a){7); the amendment makes clear that this authority extends to all length limits in the Appellate
                    Rules.




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              Exhibit F--Rule 83. Rules by District Courts; Judge's Directives
              (a) LOCAL RULES.

                  (1) In General. After giving publ ic notice and an opportunity for comment, a
                district court, acting by a majority of its district judges, may adopt and amend
                rules governing its practice. A local rule must be consistent with-but not
                duplicate-federal statutes and rules adopted under 28 U.S.C. §§2072 and 2075,
                and must conform to any uniform numbering system prescribed by the Judicial
                Conference of the United States. A local rule takes effect on the date specified by
                the district court and remains in effect unless amended by the court or abrogated
                by the judicial counc il of the circuit. Copies of rules and amendments must, on
                their adoption, be furnished to the judicial council and the Administrative Office
                of the United States Courts and be made available to the public.
  ~ (2) Requirement of Form. A local rule imposing a requirement of form must not
  ~ e enforced in a way that causes a party to lose any right because of a nonwillful
     failure to comply .

..........,b) PROCEDURE WHEN THERE Is No CONTROLLING LAW. A judge may regu late practice in any
. . . . . , , , .mannerconsistegt with      federal law, rules adopted under 28 u.s.c. §§~072 and 2.QZ5_,
                 and the district's local rules. NP sgndlqn PC qther disqdyqntgq mgv be imqqsed fon
             ihoncompli~nc!
                .  •        With any requirement                         not in tew:cg{ law. (edgrql cutes, or the /o~id
             (9les "
                   1¥1,lt:f~ t&e g{{egest:violqtoc has keeo furnished in the pgrticutsc case wfttt
                        ·c   c'<\,(   '"   .   _.·-   :"\,   o'.-




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